                Case 2:17-cr-00720-SVW Document 1 Filed 11/08/17 Page 1 of 21 Page ID #:1
        ,. ,.                                                                                                                OR~G~~~~L
 Ao 9~ cRe~. l lisz~                                             CRIMINAL COMPLAINT
               UNITED STATES DISTRICT COURT                                                   CENTRAL DISTRICT OF CALIFORNIA

                                                                                        DOCKET NO.
                   UNITED STATES OF AMERICA
                              v.
                     ANTHONY SCOTT LLOYD                                                MaGisT~,TE°scasErr
                                                                                                     171, 028 ~
                               Complaint for violation of Title 18, United States Code, Section ll5(a)(1)(B)

     NAME OF MAGISTRATE JiJDGE                                                                                        LOCATION
                                                                                        UNITED STATES
     THE HONORABLE SUZANNE H. SEGAL                                                     MAGISTRATE JUDGE              Los Angeles, California

     DATE OF OFFENSE                                    PLACE OF OFFENSE                ADDRESS OF ACCUSED (I KNO        FILED               j
                                                                                                               CLERK U.S. DISTRICT COURT
     October 22, 2017                                   Los Angeles County

     COMPLAINANT'S STATEMENT OF FACTS CONSTITUTING THE OFFENSE OR VIOLATION:                                        1\{JY    '"' ZOI T   (

                                                                   [18 U.S.C. § 115(a)(1)(B)]
                                                                                                             CENTAAL~,Q~
                                                                                                                     IS PoCT OF CAUFOR N!A
                                                                                                             BY                    DEPUTY
             On or about October 22, 2017, in Los Angeles County, within the Central District of California,
     defendant ANTHONY SCOTT LLOYD("LLOYD")threatened to murder a United States official, namely
     United States Congresswoman Maxine Waters, with the intent to impede, intimidate, or interfere with
     Congresswoman Waters while engaged in the performance of official duties, or with intent to retaliate against
     Congress~,oman Waters on account of the performance of her official duties, in violation of Title 18, United
     States Co~~, Section 115(a)(1)(B), influencing, impeding, or retaliating against a Federal official.
f~                --
 i`                s y:
 s                 ~~

                       6




  BASIS OF COMPLAINANT'S CHARGE AGAINST THE ACCUSED:

            (See attached affidavit which is incorporated as part of this Complaint)

  MATERIAL WITNESSES IN RELATION TO THIS CHARGE: N~A


                                                                  SIGN        OF    M    A   AN
 Being duly sworn, I declare that the
 foregoing is true and correct to the best
 Of1Tly k110W1eClge.                                               OFFICIAL TITLE
                                                                  S ecial A ent —FBI
 Sworn to before me and subscribed in my presence,

 SIGNA"PURE OF             GISTRATE JUDGE~'~                                                                                DATE

                                                                                                                            November 8, 2017
~~~ See Federal Rules o    riminal Procedure 3 and 54
AUSA Veroni                ragalin x0647        REC: Detention
                   Y'0
 Case 2:17-cr-00720-SVW Document 1 Filed 11/08/17 Page 2 of 21 Page ID #:2




                                 T'G~L~TTTTTTT




     I, Christopher L. Kontsis, being duly sworn, declare and

state as follows:

                            I.    INTRODUCTION

     1.      I am a Special Agent ("SA") with the United States

Federal Bureau of Investigation ("FBI"), and have been so

employed since April 1996.       I am currently assigned to the

Violent Crimes-Major Offenders/Gangs Squad 1 of the Long Beach

Resident Agency of the Los Angeles, California Field Office.

     2.      During the course of 21 years in federal law

enforcement, I have conducted numerous investigations pertaining

to violations of federal and state laws within the southern Los

Angeles County area, including threats to assault, kidnap or

murder.   I have participated in the execution of numerous

federal and state search warrants and arrest warrants.          As part

of my basic training with the FBI, I received training in

tactics, conducting interviews, and conducting federal criminal

investigations. I am familiar with the methods and

characteristics of those who threaten public officials and the

use of digital devices in connection with threats offenses.

                      II.   PURPOSE OF AFFIDAVIT

     3.    This affidavit is submitted in support of the

following:

           a.    A complaint and arrest warrant charging ANTHONY

SCOTT LLOYD with making threats against a United States

official, in violation of 18 U.S.C. ~ 115(a)(1)(B).
 Case 2:17-cr-00720-SVW Document 1 Filed 11/08/17 Page 3 of 21 Page ID #:3




           b.   An application for a warrant to search the

cellular telephone with the number (310) 415-8873 ("LLOYD'S

PHONE"), as further described in Attachment A for evidence,

fruits, or instrumentalities of the violation of 18 U.S.C. 18

U.S.C. ~ 115(a)(1)(B) (Criminal Threat Against United States

Official) (the "SUBJECT OFFENSE")        Attachments A and B are

incorporated herein by reference.

     4.    The facts set forth in this affidavit are based upon

my knowledge, training, and experience, and information obtained

from various law enforcement personnel and witnesses, the

collective experiences related to me by other FBI SAs and my

review of reports written by U.S. Capitol Police SA Deborah

Lippay and FBI Task Force Officer ("TFO") Tucker Kleitsch.           I

have also reviewed supporting documents in this matter,

including the audio and video recordings relating to the

interview described herein.      This affidavit is intended to show

merely that there is sufficient probable cause for the requested

complaint and warrants and does not purport to set forth all of

my knowledge of or investigation into this matter.          Unless

specifically indicated otherwise, all conversations and

statements described in this affidavit are related in substance

and in part only.

                    III. SiTMMARY OF PROBABLE CAUSE

     5.   On October 22, 2017, ANTHONY SCOTT LLOYD called U.S.

Congresswoman Maxine Waters on her Washington, D.C. office line

from his cell phone and left a threatening voicemail,

specifically threatening to kill her if she continues making

                                               Instrumentality Protocol
 Case 2:17-cr-00720-SVW Document 1 Filed 11/08/17 Page 4 of 21 Page ID #:4




comments regarding the President.        LLOYD has admitted to using

LLOYD'S PHONE to leave the voicemail, to look up Congresswoman

Waters' contact information, and for other activities related to

his threat against Congresswoman Waters.

                  IV.   STATEMENT OF PROBABLE CAUSE

     6.    On October 24, 2017, I was contacted by the FBI

Washington Field Office ("WFO") and asked to interview ANTHONY

SCOTT LLOYD regarding an October 22, 2017 threatening voicemail

sent to U.S. Congresswoman Maxine Waters' Washington, D.C.

Office (the "Voicemail")       I listened to a copy of the Voicemail

that was provided by WFO.     The Voicemail was left by a male and

stated:   "This message is directed to Maxine Waters herself.          If

you continue to threaten the President, which you've done this

morning with your comments about you're going to, what you said

at your little faggot conference, if you continue to make

threats towards the President, you're going to wind up dead,

Maxine, `cause we'll kill you.      You can call the FBI, you can

call the NSA, you can call whoever the fuck you want and report

this and try to get a surge or some kind of fucking phone

number.   Bitch, if you do it again, you're dead.        You're a

fucking dead ass nigger."       Based upon my training and

experience, as well as the tone of the message and the verbiage

used, I considered the Voicemail to be a valid threat against




                                               Instrumentality Protocol
                                    ~~
 Case 2:17-cr-00720-SVW Document 1 Filed 11/08/17 Page 5 of 21 Page ID #:5




Congresswoman Waters intended to intimidate or retaliate against

the Congresswoman.


     7.     Based on my review of reports prepared by FBI TFO

Tucker Kleitsch and U.S. Capitol Police SA Deborah Lippay, I

learned the following:

            a.   On October 23, 2017, Zachary Cooper, Staff

Assistant, Office of Congresswoman Maxine Waters, 2221 Rayburn

House Office Building, Washington D.C., telephonically contacted

the U.S. Capitol Police ("USCP"), Threat Assessment Section

("TAS") and spoke with SA Lippay.       Cooper reported a threatening

voicemail message (the Voicemail) that was received on October

22, 2017 at approximately 12:51 p.m. EST.        The call was received

on the Congresswoman Waters main office telephone number (202)

225-2201.    Cooper provided SA Lippay access to Congresswoman

Waters' voicemail system.

            b.   SA Lippay accessed the voicemail system and

listened to the Voicemail.      Caller ID indicated the call was

received on Sunday, October 22, 2017 at 1251 hours.          SA Lippay

made a digital copy of the Voicemail.

            c.   SA Lippay called the Verizon/LEO access number

and prepared a Verizon Emergency Situation Disclosure Request By

Law Enforcement form for incoming records for Waters' office

line, telephone number (202) 225-2201, time frame 12:21 p.m. to

1:21 p.m. EST, for October 22, 2017.

            d.   Verizon results indicated there was an incoming

call from telephone number (310) 415-8873 (the phone number of


                                               Instrumentality Protocol
                                    4
 Case 2:17-cr-00720-SVW Document 1 Filed 11/08/17 Page 6 of 21 Page ID #:6




LLOYD'S PHONE) to telephone number (202) 225-2201 on October 22,

2017 at 16:50:23 GMT time with a call duration of one minute and

33 seconds.

             e.   SA Lippay dialed (310) 415-8873 and was greeted

by a voicemail message in which a male voice identified himself

as "ANTHONY LLOYD."     SA Lippay conducted a law enforcement

database search for telephone number (310) 415-8873 that

produced one record, and that record was for ANTHONY LLOYD, date

of birth December 9, 1972, California Driver's License Number

D7987200.     SA Lippay conducted a database check for D7987200,

which produced LLOYD's California DMV information, including a

residential address in San Pedro, California.

        8.   On October 30, 2017, I telephonically interviewed

Zachary Cooper and learned the following information.

             a.   Cooper stated that one of his job

responsibilities is to screen telephone calls and routinely

check the voicemail system for messages left on Congresswoman

Waters' main telephone number for her legislative office in

Washington D.C.     Cooper advised that whenever Congresswoman

Waters makes a statement about the President, the office

receives an "up-tick" in telephone calls and voicemail messages.

             b.   Cooper stated that Congresswoman Waters made some

statements about the President over the weekend of October 21,

2017.    On October 22, 2017, at approximately 6:57 p.m., Cooper

accessed Congresswoman Waters' telephone system from his

residence via his work cell phone.       Cooper listened to a

voicemail that was left by a male in which the male threatened

                                               Instrumentality Protocol
                                    5
 Case 2:17-cr-00720-SVW Document 1 Filed 11/08/17 Page 7 of 21 Page ID #:7




to kill Congresswoman Waters (the Voicemail).         Upon hearing the

Voicemail, Cooper became "very concerned for the Congresswoman's

safety."    Cooper stated the Congresswoman receives numerous

"hateful" and "harassing" voicemail messages, but rarely does

she receive a threatening message in which the caller used the

word "kill."

            c.   At approximately 7:24 p.m. that same evening,

Cooper called Congresswoman Waters on her cell phone and told

her he listened to a threatening voicemail (the Voicemail) and

was concerned for her safety.      Congresswoman Waters asked Cooper

what was said in the voicemail and Cooper told her.

Congresswoman Waters told Cooper to contact the USCP.

            d.   On October 23, 2017, Cooper contacted the USCP

and spoke with SA Lippay and reported the Voicemail.

     9.     On October 27, FBI SA Mark Matthews and I interviewed

ANTHONY SCOTT LLOYD at 1743 Miracosta Street, San Pedro,

California 90732.    The interview was covertly recorded with

audio and video.    The following information, among other

information, was obtained during the interview:

            a.   LLOYD was living with his grandmother, Anna Marie

Zuanich, who was present at times during the interview.

           b.    LLOYD believed agents were there regarding videos

that were being posted by an individual named David Smith on

YouTube and one video in particular where Smith threatened

LLOYD.    I advised LLOYD that we were not there because of the

videos and asked him to explain.      LLOYD advised that Smith was

posting videos on YouTube subsequent to the Las Vegas shooting

                                               Instrumentality Protocol
 Case 2:17-cr-00720-SVW Document 1 Filed 11/08/17 Page 8 of 21 Page ID #:8




in which Smith was encouraging people to shoot cops.          LLOYD left

comments on Smith's videos indicating he did not agree with

Smith.     The two began to exchange comments with one another via

YouTube.    LLOYD stated that Smith posted a video where he was

taunting LLOYD while racking a 12 gauge shotgun.         After watching

the video, LLOYD stated:     "So I was like fine, I'm gonna go

after this man and I'm gonna fucking kill him."         LLOYD then

advised that "on his way out of town to do that" he stopped at

Los Angeles Police Department Habor Division and showed them the

video and filed a report.      LLOYD stated that he was "heading out

of town to go deal with him."      LLOYD was upset that Smith posted

a video directed at him while holding a shotgun.         SA Matthews

asked LLOYD if he was really going to hurt Smith.          LLLOYD

replied, "Yeah."    SA Matthews asked LLOYD to elaborate on what

exactly he was going to do.      LLOYD stated:    "I was going to show

up to his pad and there was going to be a confrontation.            And I

knew if I showed up to his pad and there was a confrontation, he

would probably get violent, and if he got violent, I was going

to kill him."    LLOYD further advised that he was planning on

taking a gun. LLOYD advised that he did not own any guns, but

that he was going to go get one.        Later in the interview, LLOYD

again stated that he did not own any weapons, that the only

person he knew who owned weapons lives in Alaska, and that he

had no intention of actually taking a gun to Smith's residence.

            c.   LLOYD said he felt he was being threatened by

Smith in the videos and believed that Smith could show up to his

house and harm him and his grandmother.

                                               Instrumentality Protocol
                                    7
 Case 2:17-cr-00720-SVW Document 1 Filed 11/08/17 Page 9 of 21 Page ID #:9




             d.     LLOYD said that after Smith made the comments on

YouTube, LLOYD researched Smith and found he owned DKS Media

Solutions.       LLOYD researched DKS Media Solutions and believed

Smith to be a photographer.      Later in the interview, LLOYD

stated that Smith lived in Los Angeles and that he knew Smith's

address, which LLOYD got from DKS's website.         LLOYD stated the

he told the officers at LAPD Harbor Division that if Smith

showed up on his doorstep, "I'm not calling you.          I'm telling

you.     I'll wait for his pulse to stop and then I'll call you

because I want to ensure that he's dead.        And I told them that.

I'll do it first, wait for him to die, then I'll call ya.           And

you can bring the morgue out."

            e.     LLOYD told us that he contacted "Agent Dickson"

regarding the videos being posted by Smith.         LLOYD said he

talked on the phone with Agent Dickson and exchanged e-mails

with Agent Dickson.      LLOYD said he thought Agent Dickson was an

FBI Agent, but when he showed me the signature block of an e-

mail he received from Agent Dickson, I saw that Dickson worked

for the Los Angeles Police Department, Counter Terrorism &

Special Operations Bureau, Major Crimes Division - FBI Task

Force.    LLOYD stated that Agent Dickson told him he was trying

to get a warrant for Smith.

            f.     LLOYD stated the he contacted YouTube and filed a

formal complaint seven times for seven videos that were posted

by Smith.




                                               Instrumentality Protocol
                                    0
Case 2:17-cr-00720-SVW Document 1 Filed 11/08/17 Page 10 of 21 Page ID #:10




           g.     LLOYD provided his cellular telephone number as

(310) 415-8873 (LLOYD'S PHONE), the number that left the

Voicemail.

             h.   I advised LLOYD that the FBI was at his house

because of the voicemail message he left for Congresswoman

Maxine Waters on Sunday, October 22, 2017, on her Washington

D.C. office telephone.     I played a copy of the Voicemail for

LLOYD.   I asked LLOYD if he recalled leaving the message.          LLOYD

replied, "Yeah, but there's nothing to it."        LLOYD was upset

that Congresswoman Waters was making "veiled" comments about

doing something to the President.

           i.     LLOYD recalled that on Sunday morning October 22,

2017, he was probably parked in his car in San Pedro waiting for

his friend to walk her dog.      He was listening to talk radio and

it was "spur of the moment" that he decided to call

Congresswoman Waters.     LLOYD said that he was going to "make a

statement" because "his voice matters."        LLOYD stated that after

he left the Voicemail he thought "you probably could have done

that one better."     LLOYD stated that his told his friend "Tara"

about the Voicemail and she told him he was an "idiot" and to

not be surprised if he got a knock on the door.         LLOYD told Tara

that he was not harmful to anybody.

           j.     Regarding the Voicemail, LLOYD stated that the

point he was trying to drive home was, "bitch if you make a move

on my President          your ass is in trouble.      You better not

make a move on the President, you better not encourage people to

make a move on the President, because if you do, it's all over,

                                               Instrumentality Protocol
                                    ~7
Case 2:17-cr-00720-SVW Document 1 Filed 11/08/17 Page 11 of 21 Page ID #:11




what are you crazy?       If you're out there making statements like

that and somebody does something, It's on you."

             k.     LLOYD stated that he has no intentions of harming

Congresswoman Waters.       He also stated that the last time he

visited Washington, D.C. was in 1982.        LLOYD stated that he does

not know where Congresswoman waters's Los Angeles Office is

located.

             1.    LLOYD said he follows the news "religiously" and

was upset that Waters is constantly making comments about the

President.       LLOYD looked at me and stated:    "I don't know if you

follow the news or not.       How much you follow the news.       You're

not the type of guy that gets riled up probably."

            m.     when questioned if he was a Pro-Trump supporter,

LLOYD advised that he was a "pro-President supporter."

            n.     LLOYD stated:    "It just infuriates the hell out

of me to hear people talking about going after a president,

we're gonna, you know, send our people to handle a president,

she has this Antifa group."

            o.     LLOYD advised that he had used his cell phone to

look up the telephone number for Maxine Waters.         LLOYD said he

was so "worked up" by what Maxine Waters said and what she was

alluding to.

            p.     I asked LLOYD that if he was Maxine Waters and

received that voicemail, would he think someone was trying to

kill him.    LLOYD replied:    "I understand.     I understand.    Her

yes, anybody but me, yeah."        LLOYD indicated that he personally

would not be concerned by receiving that voicemail.          I asked

                                               Instrumentality Protocol
                                     10
Case 2:17-cr-00720-SVW Document 1 Filed 11/08/17 Page 12 of 21 Page ID #:12




LLOYD if he thought a common person would be fearful if they

received that voicemail.      LLOYD replied:    "Probably."

            q.    When questioned about his mental health or if he

was on medication, LLOYD stated: "I'm not crazy, I'm not under

any medication, I'm not a pre-meditator, I'm not a planner, I'm

not a terrorist guy, I'm very patriotic and I love my country."

     10.    On October 24, 2017, I conducted a database search of

the Automated Firearms System, which revealed that ANTHONY SCOTT

LLOYD did not have any firearms registered to him.

     11.   On October 25, 2017, I learned from Verizon that the

subscriber for telephone number (310) 415-8873 was Anna Zuanich,

the name of LLOYD'S .grandmother, and listing the residential

address where I visited LLOYD in San Pedro, California.

     12.   For all the reasons described above, there is probable

cause to believe LLOYD has committed a violation of Title 18

U.S.C. Section 115(a)(1)(B)       In addition, there is probable

cause to believe evidence of the SUBJECT OFFENSE will be found

on LLOYD'S PHONE.

           V.    TRAINING AND EXPERIENCE ON DIGITAL DEVICES

     13.   As used herein, the term "digital device" includes any

electronic system or device capable of storing or processing

data in digital form, including mobile telephones, and smart

phones; and memory cards.     Based on my knowledge, training, and

experience, as well as information related to me by agents and

others involved in the forensic examination of digital devices,

I know that data in digital form can be stored on a variety of

                                               Instrumentality Protocol
                                    11
Case 2:17-cr-00720-SVW Document 1 Filed 11/08/17 Page 13 of 21 Page ID #:13




digital devices and that during the search of a premises it is

not always possible to search digital devices for digital data

for a number of reasons, including the following:

           a.    Searching digital devices can be a highly

technical process that requires specific expertise and

specialized equipment.     There are so many types of digital

devices and software programs in use today that it is impossible

to bring to the search site all of the necessary technical

manuals and specialized equipment necessary to conduct a

thorough search.    In addition, it may be necessary to consult

with specially trained personnel who have specific expertise in

the types of digital devices, operating systems, or software

applications that are being searched.

           b.   Digital data is particularly vulnerable to

inadvertent or intentional modification or destruction.

Searching digital devices can require the use of precise,

scientific procedures that are designed to maintain the

integrity of digital data and to recover "hidden," erased,

compressed, encrypted, or password-protected data.          As a result,

a controlled environment, such as a law enforcement laboratory

or similar facility, is essential to conducting a complete and

accurate analysis of data stored on digital devices.

           c.   The volume of data stored on many digital devices

will typically be so large that it will be highly impractical to

                                               Instrumentality Protocol
                                    12
Case 2:17-cr-00720-SVW Document 1 Filed 11/08/17 Page 14 of 21 Page ID #:14




search for data during the physical search of the premises.              A

single megabyte of storage space is the equivalent of 500

double-spaced pages of text.        A single gigabyte of storage

space, or 1,000 megabytes, is the equivalent of 500,000 double-

spaced pages of text.      Storage devices capable of storing 500 or

more gigabytes are now commonplace.         Consequently, just one

device might contain the equivalent of 250 million pages of

data, which, if printed out, would completely fill three 35' x

35' x 10' rooms to the ceiling.

            d.    Electronic files or remnants of such files can be

recovered months or even years after they have been downloaded

onto a hard drive, deleted, or viewed via the Internet.l

Electronic files saved to a hard drive or storage on a phone can

be stored for years with little or no cost.           Even when such

files have been deleted, they can be recovered months or years

later using readily-available forensics tools.           Normally, when a

person deletes a file, the data contained in the file does not

actually disappear; rather, that data remains on the hard drive

until it is overwritten by new data.         Therefore, deleted files,

or remnants of deleted files, may reside in free space or slack

space, i.e., space on a hard drive that is not allocated to an




      1 These statements do not generally apply to data stored in volatile
memory such as random-access memory, or "RAM," which data is, generally
speaking, deleted once a device is turned off.

                                                 Instrumentality Protocol
                                      13
Case 2:17-cr-00720-SVW Document 1 Filed 11/08/17 Page 15 of 21 Page ID #:15




active file or that is unused after a file has been allocated to

a set block of storage space, for long periods of time before

they are overwritten.     In addition, an operating system may also

keep a record of deleted data in a swap or recovery file.

Similarly, files that have been viewed on the Internet are often

automatically downloaded into a temporary directory or cache.

The browser typically maintains a fixed amount of hard drive

space devoted to these files, and the files are only overwritten

as they are replaced with more recently downloaded or viewed

content.   Thus, the ability to retrieve residue of an electronic

file from a hard drive depends less on when the file was

downloaded or viewed than on a particular user's operating

system, storage capacity, and computer habits.         Recovery of

residue of electronic files from a hard drive and storage on a

phone requires specialized tools and a controlled laboratory

environment.    Recovery also can require substantial time.

           e.   Although some of the records called for by this

warrant might be found in the form of user-generated documents

(such as word processing, picture, and movie files), digital

devices can contain other forms of electronic evidence as well.

In particular, records of how a digital device has been used,

what it has been used for, who has used it, and who has been

responsible for creating or maintaining records, documents,

programs, applications and materials contained on the digital

                                               Instrumentality Protocol
                                    14
Case 2:17-cr-00720-SVW Document 1 Filed 11/08/17 Page 16 of 21 Page ID #:16




devices are, as described further in the attachments, called for

by this warrant.     Those records will not always be found in

digital data that is neatly segregable from the hard drive image

as a whole.   Digital data on the hard drive not currently

associated with any file can provide evidence of a file that was

once on the hard drive but has since been deleted or edited, or

of a deleted portion of a file (such as a paragraph that has

been deleted from a word processing file).        Virtual memory

paging systems can leave digital data on the hard drive that

show what tasks and processes on the computer were recently

used.   Web browsers, e-mail programs, and chat programs often

store configuration data on the hard drive that can reveal

information such as online nicknames and passwords.          Operating

systems can record additional data, such as the attachment of

peripherals, the attachment of USB flash storage devices, and

the times the computer was in use.       File systems can record data

about the dates files were created and the sequence in which

they were created.    This data can be evidence of a crime,

indicate the identity of the user of the digital device, or

point toward the existence of evidence in other locations.

Recovery of this data requires specialized tools and a

controlled laboratory environment, and also can require

substantial time.




                                               Instrumentality Protocol
                                    15
Case 2:17-cr-00720-SVW Document 1 Filed 11/08/17 Page 17 of 21 Page ID #:17




           f.    Further, evidence of how a digital device has

been used, what it has been used for, and who has used it, may

be the absence of particular data on a digital device.           For

example, to rebut a claim that the owner of a digital device was

not responsible for a particular use because the device was

being controlled remotely by malicious software, it may be

necessary to show that malicious software that allows someone

else to control the digital device remotely is not present on

the digital device.     Evidence of the absence of particular data

on a digital device is not segregable from the digital device.

Analysis of the digital device as a whole to demonstrate the

absence of particular data requires specialized tools and a

controlled laboratory environment, and can require substantial

time.

           g.    Digital device users can attempt to conceal data

within digital devices through a number of methods, including

the use of innocuous or misleading filenames and extensions.

For example, files with the extension ".jpg" often are image

files; however, a user can easily change the extension to ".txt"

to conceal the image and make it appear that the file contains

text.   Digital device users can also attempt to conceal data by

using encryption, which means that a password or device, such as

a "dongle" or "keycard," is necessary to decrypt the data into

readable form.    In addition, digital device users can conceal


                                               Instrumentality Protocol
                                    16
Case 2:17-cr-00720-SVW Document 1 Filed 11/08/17 Page 18 of 21 Page ID #:18




data within another seemingly unrelated and innocuous file in a

process called "steganography."       For example, by using

steganography a digital device user can conceal text in an image

file that cannot be viewed when the image file is opened.

Digital devices may also contain "booby traps" that destroy or

alter data if certain procedures are not scrupulously followed.

A substantial amount of time is necessary to extract and sort

through data that is concealed, encrypted, or subject to booby

traps, to determine whether it is evidence, contraband or

instrumentalities of a crime.

     14.   I know from my training and experience and my review

of publicly available materials that Apple Inc., Motorola, HTC,

and Samsung, among other companies, produce devices that can be

unlocked by the user with a numerical or an alpha-numerical

password, or, for some newer versions of the devices, with a

fingerprint placed on a fingerprint sensor.        Each company has a

different name for its fingerprint sensor feature; for example,

Apple's is called "Touch ID."      Once a user has set up the

fingerprint sensor feature in the security settings of the

device, the user can unlock the device by placing a finger or

thumb on the device's fingerprint sensor.        If that sensor

recognizes the fingerprint or thumbprint, the device unlocks.

Most devices can be set up to recognize multiple prints, so that

different prints, not necessarily from the same person, will


                                               Instrumentality Protocol
                                    17
Case 2:17-cr-00720-SVW Document 1 Filed 11/08/17 Page 19 of 21 Page ID #:19




unlock the device.    In my training and experience, users of

devices with a fingerprint sensor feature often enable that

feature, because it unlocks the phone more quickly than the

entry of a passcode or password but still offers a layer of

security.

     15.    In some circumstances, fingerprint sensors will not

work, and a passcode must be entered to unlock the device.            For

example, with Apple's Touch ID feature, these circumstances

include: (1) when more than 48 hours has passed since the last

time the device was unlocked; and (2) when the device has not

been unlocked via Touch ID in 8 hours and the passcode or

password has not been entered in the last 6 days.         Thus, in the

event law enforcement encounters a locked Apple device, the

opportunity to unlock the device via Touch ID exists only for a

short time.    Touch ID also will not work to unlock the device if

(1) the device has been turned off or restarted; (2) the device

has received a remote lock command; and (3) five unsuccessful

attempts to unlock the device via Touch ID are made.          Other

brands have similar restrictions.       I do not know the passcodes

of LLOYD'S PHONE.

     16.    For these reasons, while executing the warrant, agents

will likely need to use LLOYD'S fingerprints or thumbprints to

attempt to gain access to LLOYD'S PHONE if it is a fingerprint

sensor-enabled device while executing the search warrant.           The


                                               Instrumentality Protocol
Case 2:17-cr-00720-SVW Document 1 Filed 11/08/17 Page 20 of 21 Page ID #:20




warrant seeks the authority to compel the use of LLOYD'S

fingerprint and/or thumbprint during the execution of the search

of LLOYD'S PHONE.    The government may not be able to obtain the

contents of the devices if those fingerprints are not used to

access the devices by depressing them against the fingerprint

sensor at the time of the search.        Although I do not know which

of the fingers are authorized to access on any given device, I

know based on my training and experience that it is common for

people to use one of their thumbs or index fingers for

fingerprint sensors, and in any event all that would result from

successive failed attempts is the requirement to use the

authorized passcode or password.

     17.   Other than what has been described herein, to my

knowledge, the United States has not attempted to obtain this

data by other means.

//

//

//




                                               Instrumentality Protocol
                                    19
Case 2:17-cr-00720-SVW Document 1 Filed 11/08/17 Page 21 of 21 Page ID #:21




                            VI.   CONCLUSION

     13.   For all the reasons described above, there is probable

cause to believe that LLOYD committed the SUBJECT OFFENSE and

that evidence, fruits, and instrumentalities of violations of

the SUBJECT OFFENSE will be found in LLOYD'S PHONE.




                                        Christopher L. Kontsis Special
                                        Agent

                                        Federal Bureau of Investigation

Subscribed to and sworn before me
this $~ day of November 2017.


 s~ _ ~~~
HONORABLE SUZANE H. SEGAL
UNITED STATES  GISTRATE JUDGE




                                               Instrumentality Protocol
                                   20
